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                                IN THE UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA


                          COMPLAINT UNDER CIVIL RIGHTS ACT 42 U.S.C.§ 1983

                                                          Action Number             3:iocviiD
                                                                   (To be supplied b)- ihc Clerk. U.S. Di.stricl Court)


 Please fill out this complaint form completely. The Court needs the information requested in
 order to assure that your complaint is processed as quickly as possible and that all your claims
 are addressed. Please print/write legibly or type.

 I.     PARTIES


 A.        Plaintiff:                                            ^
           1.         (a)
                                ^ame)             .            ^                        (Inmate number)

                          fc)
                                (Address)^    >



 Plaintiff MUST keep the Clerk of Court notified of any change of address due to transfer
 or release. If plaintiff fails to keep the Clerk informed of such changes, this action may be
 dismissed.


 Plaintiff is advised that only persons acting under the color of state law are proper
 defendants under Section 1983. The Commonwealth of Virginia is immune under the
 Eleventh Amendment. Private parties such as attorneys and other inmates may not be
 sued under Section 1983. In addition, liability under Section 1983 requires personal action
 by the defendant that caused you harm. Normally, the Director of the Department of
 Corrections, wardens,and sheriffs are not liable under Section 1983 when a claim against
 them rests solely on the fact that they supervise persons who may have violated your rights.
 In addition, prisons,jails, and departments within an institution are not persons under
 Section 1983.


 B.        Defendant(s):

           1.         (a)                                          (b)                        ^               A"9^
                                (Namey                ^                                (Title/Job Description)

                                /y2S",A}
            - 'r ]              (Address)


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              (a)
                       (Nanre)                                              (Title/Job Description)

              (c)                     yt/
                       (Address)

                                        67/^ ;^P^<3
       3.     (a)
                      ^ (Name)                               'Vx            ^Title/Job Description)   ^


                       (Adaress^~                                     ^ —
                                             (^y/9
                         feiidants.
If there are additional defendants, please list them on a separate sheet of paper. Provide all
identifying information for each defendant named.

Plaintiff MUST provide a physical address for defendant(s) in order for the Court to serve
the complaint. If plaintiff does not provide a physical address for a defendant, that person
may be dismissed as a party to this action.

II.    PREVIOUS LAWSUITS


       Have you ever begun other lawsuits  in any
                                      Jits in ai  state or federal court relating to your
       imprisonment? Yes[ ] No

B.     If your answer to "A" is Yes: You must describe any lawsuit, whether currently pending
       or closed, in the space below. If there is more than one lawsuit, you must describe each
       lawsuit on another sheet of paper, using the same outline, and attach hereto.

        1.     Parties to previous lawsuit

       Plaintiff(s)

       Defendant(s)
                                   y/i
                                     'f/W
       2.      Court(if federal court, name the district; if state court, name the county):



       3.      Date lawsuit filed:


       4.      Docket number:
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       5.     Name of Judge to whom case was assigned:



       6.     Disposition(Was case dismissed? Appealed? Is it still pending? What relief was    )
              granted, if any?):




III.   GRIEVANCE PROCEDURE


A.     At what institution did the events concerning your current complaint take place:



B.     Does the institution listed in "A" have a grievance procedure? Yes[ ] No[ ]

C.     If your answer to "B" is Yes:

       1.     Did you file a grievance based on this complaint? Yes[ ] No[ ]

       2.     If so, where and when:

       3.     What was the result?




       4.     Did you appeal? Yes[ ] No[ ]

       5.     Result of appeal:



D.     If there was no prison grievance procedure in the institution, did you complain to the
       prison authorities? Yes[ ] No[ ]

       If your answer is Yes, what steps did you take?



E.     If your answer is No,explain why you did not submit your complaint to the prison
       authorities:
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IV.    STATEMENT OF THE CLAIM


State here the facts of your case. Describe how each defendant is involved and how you were
harmed by their action. Also include the dates, places ofevents, and constitutional amendments
you allege were violated.

If you intend to allege several related claims, number and set forth each claim in a separate
paragraph. Attach additional sheets if necessary.                    ^




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                                                               #-5"



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V.     RELIEF


I understand that in a Section 1983 action the Court cannot change my sentence, release me from
custody or restore good time. I understand I should file a petition for a writ of habeas corpus if I
desire this type of relief.               (please initial)

The plaintiff wants the Court to:(check those remedies you seek)

 L ^✓""'^wat^money damages in the amount of$
       Grant injunctive relief by

       Other —

VI.         ; /M?
       PLACES     TM/^ A A nPT/^M
              OF INCARCERATION                  fy


Please list the institutions at which you were incarcerated during the last six months. If you were
transferred during this period, list the date(s) of transfer. Provide an address for each institution.




VII.   CONSENT


CONSENT TO TRIAL BY A MAGISTRATE JUDGE: The parties are advised of their right,
pursuant to 28 U.S.C.§ 636(c), to have a U.S. Magistrate Judge preside over a trial, with appeal
to the U.S. Court of Appeals for the Fourth Circuit.

Do you consent to proceed before a U.S. Magistrate Judge; Yes                 No[ ]. You may
consent at any time; however, an early consent is encouraged.

VIII. SIGNATURE


If there is more than one plaintiff, each plaintiff must sign for himself or herself.

Signed this^A^ cSr/^^av of ^/                                   ,20/f
Plaintiff                ^ ^
